
Stewart, J.
The only question for determination in this case is, whether a widow whose husband is not, at the time of his decease, the owner of a homestead, and who is not herself the owner of a homestead, is entitled to an allowance in lieu of a homestead out of her husband’s estate. The correct decision of this question depends upon a proper construction of the statutes of this state, with such light thereon as may be given by the decisions of our courts.
The only provision in relation to the setting off of a homestead in cases of sale of the real estate of an intestate by the administrator to pay debts, is found in Rev. Stats. § 6155; (83 Ohio L. 105). Under that section, if the deceased left a homestead and a widow or minor children, or both, entitled to have a homestead set off, pursuant to the provisions of §s5437, then. *489the court shall order the appraisers to first set off and assign such homestead. Such appraisers, however, are not authorized to set off such homestead unless the premises about to be sold, or a part of them, constitute the homestead of the intestate. Rev. Stats. § 5438.
Foos &amp; Fisher and M. L. Holt, for plaintiff.
J. W. King, for defendant.
But it is claimed that the language of § 5441 is broad enough to authorize the allowance to a widow of $500.00 in lieu of a homestead, when, as in this case, she is not the owner of a homestead.
The language of this section is no broader than that of § 5435, and in the case of Taylor v. Thorn, adm’r, 29 Ohio St. 569, it was held that the exemptions referred to in § 5435 (S. &amp; C. 1145, § 4), related to property belonging to the widow, and not to that belonging to the estate of her deceased husband. It was further held in the same case that the only right to a homestead in the lands of a decedent belonging to his widow is created by § 5437 (S. &amp; C. 1145, § 3).
It is clear that the provisions of § 5441 only apply to exemptions to the widow out of her own property against her own debts, and that she is not entitled to any allowance in lieu of a homestead out of her husband’s property.
It follows that the judgment of the court below was right, and it will be affirmed.
